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            IN THE UNITED STATES DISTRICT COURT FOR THE
                     SOUTHERN DISTRICT OF GEORGIA
                           AUGUSTA DIVISION


ALTAMAHA      RIVERKEEPER;     ONE   *
HUNDRED MILES; and CENTER FOR A      *
SUSTAINABLE COAST, INC,              *
                                     *


       Plaintiffs,                   *
                                     *


             V.                      *             CV 418-251
                                     *


THE UNITED STATES ARMY CORPS OF      *
ENGINEERS;    Lieutenant   General   *
TODD   T.   SEMONITE,  in   His      *
Official Capacity as Commanding      *
General of the U.S. Army Corps       *
of Engineers; Colonel DANIEL         *
HIBNER,    in    His   Official      *
Capacity as District Commander       *
of the    Savannah   District; and   *
TUNIS MCELWAIN, in His Official      *
Capacity   as  Chief   of   the      *
Regulatory Branch of the U.S.        *
Army Corps of Engineers,             *
                                     ★


       Defendants,                   *

Sea Island Acquisition, LLC,         *
                                     *


       Defendant-Intervenor.         *




                               ORDER




       Before the Court is the Parties' Joint Motion to Vacate and

Stipulation for Scheduling.        (Doc. 42.)     The Court finds the

Parties need only submit a proposed scheduling order.           Having now
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proposed a sufficient scheduling order, the Court GRANTS the motion

(Doc. 42) and sets the deadlines stipulated in the motion.^

     ORDER ENTERED at Augusta, Georgia, this _^?2^ay of February,
2019.



                                  J.VRANI^ HALL, -CHIEF JUDGE
                                  UNITED^TATES DISTRICT COURT
                                  SOUTHERN   DISTRICT OF GEORGIA




1 Although the Court encourages the Parties to avoid duplicative efforts, no
consolidated filings are required, unless otherwise ordered by the Court.
